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Court-Appointed Receiver, Peggy Hunt


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 SECURITIES AND EXCHANGE
 COMMISSION,
                                                             RECEIVER’S EIGHTH
                        Plaintiff.                             STATUS REPORT
                                                            (JULY 1, 2019 THROUGH
           V.                                                   MARCH 31, 2020)

 TRAFFIC MONSOON, LLC, a Utah Limited                           2:16-cv-00832-JNP
 Liability Company, and CHARLES DAVID
                                                           The Honorable Jill N. Parrish
 SCOVILLE, an individual,

                        Defendants.


         Peggy Hunt, the Court-appointed Receiver (the “Receiver”) for Traffic Monsoon, LLC,

and the assets of Charles David Scoville that were obtained directly or indirectly from Traffic

Monsoon, hereby submits this Eighth Status Report (the “Status Report”) for the period of July1,

2019 through March 31, 2020 (the “Reporting Period”). This Status Report is posted on the

website for the receivership at www.trafficmonsoonreceivership.com (the “Receivership

Website”).




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1. Introduction

          This Status Report includes a brief summary of key events in this case to date as set forth

in Part II below. Part III is a summary of the Receiver’s work during the Reporting Period. Part

IV provides a financial summary of the Receivership Estate, and administrative expenses that

have been incurred and paid during the Reporting Period are discussed in Part V. All of the

documents filed with the Court that are referenced in this Status Report are posted on the

Receivership’s website at www.trafficmonsoonreceivership.com (the “Receivership Website”).

          Please note that a more detailed discussion about the background in this case is set forth

in the Receiver’s First Status Report (July 26, 2016 Through March 31, 2017) (the “First Status

Report”), 1 which incorporated the Receiver’s Declarations outlining the initial findings of her

investigation. 2 Since filing that First Status Report, the Receiver has continued to file Status

Reports that, in addition to the updates posted on the Receivership Website, may be consulted for

information about this case. To date the following additional Status Reports have been filed:

Receiver’s Second Status Report (April 1, 2017 Through June 30, 2017); 3 Receiver’s Third

Status Report (July 1, 2017 Through September 30, 2017) 4; Receiver’s Fourth Status Report

(October 1, 2017 Through December 31, 2017); 5 Receiver’s Fifth Status Report (January 1,




1
    Docket No. 91.
2
 See Declaration of Receiver Peggy Hunt (Communications) (the “Communications Declaration”), Docket No. 54;
and the Declaration of Peggy Hunt (Business Operations) (the “Business Operations Declaration”), Docket No. 55.
3
    Docket No. 104.
4
    Docket No. 108.
5
    Docket No. 122.


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2018 Through March 31, 2018); 6 Receiver’s Sixth Status Report (April 1, 2018 Through June 30,

2018); 7 and Receiver’s Seventh Status Report (July 1, 2018 Through June 30, 2019) 8(the

“Seventh Status Report”) (these Reports, together are the “Prior Status Reports”). All of the

Prior Status Reports are posted on the Receivership Website.

2. Summary of Key Events in This Case

          Parties interested in a detailed outline of the key events in the above-captioned case

should refer to the Receiver’s Prior Status Reports and the Receivership Website. Among other

things, information is provided about (a) the Receiver, her legal counsel, Dorsey & Whitney LLP

(“Dorsey”), her forensic and general accountants, Berkley Research Group (“BRG”), and the

claims agent in this case, Epiq Global (“Epiq”); and (b) the Receiver’s ongoing investigation and

estate administration. Additionally, Prior Status Reports outline the facts giving rise to the

commencement of this case by the United States Securities and Exchange Commission (the

“SEC”) against Traffic Monsoon, LLC (“Traffic Monsoon”) and Charles David Scoville

(“Scoville” and, together with Traffic Monsoon, the “Defendants”). They also outline the

Court’s various orders in this case, including its Temporary Restraining Order and Order

Freezing Assets, the Order Appointing Receiver and amendments (collectively, the

“Receivership Order”), the proceedings related to and entry of a Preliminary Injunction, and the

Defendants’ appeals of the Court’s Orders (collectively, the “Appeal”). Note that as of the filing

of this Status Report, all of the Defendants’ appeals have now concluded. The Orders, including


6
    Docket No. 153.
7
    Docket No. 162
8
    Docket No. 194.


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the Receivership Order and the Preliminary Injunction, have been affirmed by the United States

Court of Appeals for the Tenth Circuit, 9 and the Defendants’ Petition for a Writ of Certiorari

(the “Cert. Petition”) filed in the United States Supreme Court has been denied. 10

           While the exact terms of the Preliminary Injunction should be reviewed, the Preliminary

Injunction generally prohibits Scoville from operating Traffic Monsoon “or a business model

substantially similar to Traffic Monsoon’s sale of AdPacks.” 11 The Preliminary Injunction also

imposes an asset freeze of all “assets, of whatever kind and wherever situated, of Traffic

Monsoon, LLC and Charles D. Scoville that were obtained directly or indirectly from Traffic

Monsoon, LLC. . . ” 12 and stays all litigation in any court against either or both of the

Defendants. 13 In conjunction with the Preliminary Injunction, the Court entered a Memorandum

Decision and Order, 14 which includes significant factual findings and a comprehensive legal

analysis that are summarized in part in the Receiver’s First Status Report. Important is that the

Court concluded that a clear showing had been made that the SEC was likely to succeed in

establishing that Traffic Monsoon was a Ponzi scheme.




9
    See Order of January 24, 2019 (published at 913 F.3d 1204 (10th Cir. 2019)).
10
     See S. Ct. Case No. 18-1566.
11
     Docket No. 80 (Preliminary Injunction, p. 1).
12
     Docket No. 80 (Preliminary Injunction, p. 2).
13
     Docket No. 80 (Preliminary Injunction, p. 3).
14
     Docket No. 79.


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3. Work Done By the Receiver and Her Professionals During the Reporting Period

           The primary work performed by the Receiver and her professionals during the Reporting

Period is outlined below:

           A.      The Claims Process

           During the Reporting Period, the Receiver attended two status conferences with the Court

at which time she addressed the need to open a claim process. Prior requests to do so had been

postponed by the Court pending resolution of the Appeal. 15 In conjunction with the second

status conference, the Receiver filed a Declaration 16 setting forth the basis for granting the

Motion Seeking Approval of (1) Claims Process; (2) Setting Claims Bar Date; and (3) Certain

Notice Procedures that had been filed in early 2019. 17 After the Cert. Petition was denied, the

Court informed the Receiver that a claims process would be authorized, and the Receiver filed a

Renewed and Amended Motion Seeking Approval of (1) Claims Process; (2) Setting Claims Bar

Date; and (3) Certain Notice Procedures, which was granted by the Court by Order entered on

December 20, 2019 (the “Claims Procedure Order”). 18 The Claims Procedure Order set April

10, 2020 as the deadline, or “Claims Bar Date”, to submit Proofs of Claim to the Receiver.

           Since the entry of the Claims Procedure Order, the Receiver has worked diligently in

conjunction with Dorsey and Epiq, to run a claims process. A “Bar Date Notice” informing

potential claimants of the Claims Bar Date and procedures for submitting Proofs of Claims was



15
     See Docket No. 178 and Docket entry dated March 21, 2019.
16
     Docket No. 228.
17
     Docket No. 227.
18
     Docket No. 232.

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initially served on all potential claimants between January 8, 2020 and January 10, 2019. The

Receivership Website was updated with information about submitting Proofs of Claim and with

a link for claimants to electronically submit Proofs of Claim in accordance with the Claims

Procedure Order – the “Claims Portal”. A total of 560,309 emails were served in conjunction

with this process. Additionally, because many investors communicated through FaceBook, the

Receiver purchased targeted ads with a link to the Receivership Website to be posted on that

platform. Initial response to the request for claims was relatively tepid, likely due to the time

between the filing of this case and the commencement of the claims process. Accordingly, the

Receiver determined that it was prudent to expend additional Receivership Estate funds to re-

serve the Bar Date Notice. A “reminder” email was served between March 16, 2020, and March

20, 2020, and a “final reminder” email is being served between April 1, 2020, and April 5, 2020.

Additionally, the FaceBook advertisement was refreshed during this period. All of the emails

included the Claims Bar Date, notice that failure to file a Proof of Claim prior to Claims Bar

Date would bar a right to distribution from the Receivership Estate, and a link to the Claims

Portal.

          The Receiver, Dorsey and Epiq have spent significant time during the Reporting Period

communicating with investors about the claims process, both before it commenced, and after Bar

Date Notices were served. All communications have made clear that claimants must submit their

Proofs of Claim electronically through the Claims Portal. As of the date of this Status Report, a

total of 14,063 Proofs of Claim have been submitted. Many have agreed to the Receiver’s claim

amount, but others have asserted claims in excess of the claim amount, which will require

necessary review and reconciliation in the coming months.


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           B.      Litigation on Behalf of the Receivership Estate

           During the Reporting Period, the Receiver and Dorsey continued an investigation of

claims against investors who profited from their involvement in Traffic Monsoon (“Net

Winners”) as well as others. The Court authorized the Receiver to commence litigation related

to claims held by the Receivership Estate, 19 and based on her initial investigation, the Receiver

filed a Class Action Complaint (the “Complaint”) in this Court against 11 named Net Winners

(the “Named Defendants”) and a proposed class of approximately 4,819 other Net Winners. 20

All of the Named Defendants have been served except Imtiaz Aslam. None of the Named

Defendants have responded to the Complaint, and the Receiver is in the process of obtaining

Certificates of Default and Default Judgments against the Named Defendants who have been

served and failed to respond.

           In anticipation of obtaining default judgments against the various Named Defendants, the

Receiver has researched the process for enforcing default judgments in the various countries

where the Named Defendants are located. The Receiver sought court approval to employ a

Canadian law firm, BLG, to assist her in enforcing an anticipated default judgment against

Named Defendant Vincent Boutin in Quebec, Canada. After the Court denied the Receiver’s

motion to employ BLG, 21 the Receiver decided to hold off on pursuing Boutin until after the

Claims Bar Date, at which point the Receiver will review the filed Proofs of Claim and




19
     Docket No. 181.
20
     Hunt v. Aslam, Case No. 2:19-cv-275 (D. Utah).
21
     Docket No. 213.

                                                      7
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determine whether the amounts claimed justify spending more time and funds pursuing

international defendants.

           The Receiver has employed FTI Consulting, LLP, to investigate potential recoveries

against the 7 Named Defendants located in the United Kingdom. Based on the information she

obtained from FTI, the Receiver is analyzing the best way to enforce potential default judgments

against the Named Defendants in the United Kingdom so as to maximize the benefit to the

Receivership Estate.

           The Receiver also has determined that there may be other claims held by the

Receivership Estate, and Dorsey has been researching issues related to those matters. As of the

close of this Reporting Period, the Receiver is waiting until the expiration of the Claims Bar Date

to determine if the expense of additional litigation is warranted in light of the claims asserted

against the Receivership Estate.

           C.      Investigating Unauthorized Manchester Flat Transfer

           One of the assets of the Receivership Estate is an interest in a flat located in Manchester,

United Kingdom, and a related parking space that Scoville purchased in August 2015 using

funds obtained from Traffic Monsoon (the “Manchester Flat”). In the Sixth Status Report, the

Receiver outlined facts she has discovered about an unauthorized transfer of the Manchester Flat,

and her investigation of that unauthorized transfer. During the Reporting Period, the Receiver

has continued to investigate this issue.

           On the Receiver’s motion, 22 the Court sent a Letter of Request to the English Court

requesting that the English Court issue a subpoena to the UK law firm that handled the sale of


22
     Docket Nos. 199, 200.

                                                     8
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the Manchester Flat. 23 The English Court duly issued a subpoena to the UK law firm ordering it

to produce (i) documents showing the identity of the party who purported to act on behalf of

Scoville in authorizing and effecting the sale of the Manchester Flat (i.e., “Know Your

Customer” or “KYC” documents); and (ii) documents showing how the sale proceeds were

disbursed upon closing of sale, including details concerning the account to which the sale

proceeds transferred and the beneficiary of that account. The UK law firm complied with the

subpoena and produced the relevant documents to the Receiver, but this process took some time

based on separate follow up requests. Upon reviewing the documents, the Receiver determined

that the person who, purporting to be Charles Scoville, communicated with the UK law firm and

personally directed the sale of the Manchester Flat was not actually Charles Scoville. The

Receiver also learned the proceeds of the sale of Manchester Flat went to an account in the name

of Charles Scoville at Santander Bank in the UK. The Receiver issued a subpoena to Santander

Bank’s U.S. entity requesting information about this account, and was informed that she would

need to subpoena Santander Bank’s UK entity. The Receiver anticipates asking the Court to send

another Letter of Request to the English Court requesting issuance of a subpoena to Santander

Bank in the UK to obtain information about this account and where the sale proceeds may have

gone.

           D.      Communicating with Investors and Chargeback Responses

           As discussed above, the Receiver, directly and through Dorsey and Epiq, has spent

considerable time communicating with investors during the Reporting Period through the

“Receivership Website,” the “Receivership Email Address” and “Call Center” (as defined in


23
     Docket No. 203.

                                                  9
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Prior Status Reports). Persons who communicate with the Receiver are typically requesting

information about how to submit Proofs of Claim and when they will receive their money back.

In addition to keeping investors apprised of the status of the case, the Receiver uses information

obtained from these interactions to assist in investor identification.

           The Receiver also continues to communicate with investor groups in various contexts.

Such interactions include ongoing discussions with counsel for a group of investors who claim

that their money was invested with Traffic Monsoon through a person who is now involved in a

security enforcement action outside of the United States.

           Finally, the Receiver has access to Traffic Monsoon’s PayPal, Payza and Solid Trust Pay

accounts (as defined in Prior Status Reports), primarily for the purpose of responding to

numerous “chargeback” requests made by investors. 24 This work has continued during the

Reporting Period.

           E.       Attending to General Administration of the Receivership Estate

           During the Reporting Period, the Receiver and her professionals have attended to

numerous matters related to the administration of the Receivership Estate. These tasks include,

but are not limited to, seeking the employment of professionals deemed necessary to allow the

Receiver to execute her duties; monitoring and managing bank accounts; negotiating, when

appropriate, applicable interest rates for funds on deposit; reviewing professional billings and

requesting adjustments when appropriate; following accounting protocols; preparing SFARs (as

defined below); managing the Receivership Website and information provided through the Call

Center; evaluating and paying costs related to administration and litigation; evaluating issues


24
     See Docket No. 91 (First Status Report, at 12 (discussing chargeback issues)).

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related to compliance with applicable tax laws; filing papers required by applicable tax laws;

interfacing with financial account institutions; coordinating with governmental entities as

requested; and, when necessary, responding to statements made or inquires by Scoville and/or

his counsel.

4. Standardized Fund Accounting Report (“SFAR”)

           A summary of the financial condition of the Receivership Estate for each quarter of the

Reporting Period is set forth in the SFARs attached hereto as Exhibits A-C. At the end of the

Reporting Period, the Receivership Estate had funds in the total amount of $53,161,577.19. 25

Interest income has totaled $549,643.26, 26 and expenses have totaled $667,338.99. 27

5. Administrative Expenses During the Reporting Period

           The fees and out of pocket expenses of the Receiver, Dorsey and BRG must be approved

by the Court prior to payment. The Court has entered an Order Establishing Administrative

Expense Payment Procedures (the “Fee Procedures Order”), 28 setting forth procedures for the

request and payment of professional fees and expenses in this case. Among other things, the Fee

Procedures Order authorizes the Receiver and her professionals to file monthly “Notices of

Request for Payment.” Absent objection in accordance with the Fee Procedures Order, the

Receiver may pay 80% of fees and 100% of out-of-pocket expenses requested in a Notice of

Request for Payment. All monthly disbursements and any other requests for fees and expenses



25
     See Exh. C (SFAR for period ending March 31, 2020).
26
     See Exhs. A-C (SAFR, Line 4 recording interest).
27
     Id. (SFAR, Line10 recording disbursements).
28
     Docket No. 101.


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not requested pursuant to a Notice for Request for Payment are subject to Court approval through

“Fee Applications”.

           A.         Approved Fee Applications Relevant to this Reporting Period

           On August 22, 2019, the Receiver filed a Seventh Interim Fee Application for Receiver

and Receiver’s Professionals requesting fees and expenses for services rendered from July 1,

2018 through June 30, 2019. 29 The Court entered an Order during the Reporting Period on

October 1, 2019, approving that Fee Application, and all fees and expenses requested therein

have been paid. 30

           B.         Fees and Expenses Incurred During the Current Reporting Period

           Shortly after filing this Status Report, the Receiver intends to file an Eighth Interim Fee

Application for the period of July 1, 2019 through March 31, 2020. That Application will outline

the total hours spent by the Receiver, Dorsey and BRG, the fees requested for their services, and

reimbursement of out-of-pocket expenses incurred during the Reporting Period. None of these

fees and expenses have been paid to date, other than those authorized to be paid under the Fee

Procedures Order. Specifically, the Receiver filed Notices of Request for Payment for July,

August and September of 2019, 31 and no objections to those Notices were filed. Accordingly,

80% of the fees outlined in those Notices were paid, and 100% of the expenses outlined were

reimbursed as authorized by the Fee Procedure Order. 32




29
     Docket No. 196.
30
     See Exh. B (SFAR for the period ending December 31, 2019).
31
     Docket Nos. 198, 211, 229.
32
     See Exhs. A-C.

                                                        12
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6. Conclusion

        The Receiver currently holds over $53 million, and is anxious to distribute these funds to

parties with allowable claims against the Receivership Estate. After the Claims Bar Date

expires, the Receiver will commence the claims allowance process and then propose a plan of

distribution in this case.

        Dated this 3rd day of April, 2020.

                                                     RECEIVER


                                                       /s/ Peggy Hunt
                                                     Peggy Hunt, Receiver




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of April, 2020, I caused the foregoing Eighth Status

Report (July 1, 2019 Through March 31, 2020) to be electronically filed with the Clerk of the

Court using the CM/ECF system which will send notification of the filing to all counsel of record

in this case.

                                                          /s/ Candy Long




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